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8
                                  IN THE UNITED STATES DISTRICT COURT
9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                             CASE NO. 1:11-CR-0026 LJO
12                                  Plaintiff,             STIPULATION & ORDER
                                                           CONTINUING SENTENCING HEARING
13
                             v.
14                                                         Old Date: July 14, 2014
15   JULIE DIANNE FARMER,                                  New Date: August 25, 2014
                                                           Time:      10:00am
16                                 Defendant.              Court:     Four
                                                             (Hon. Lawrence J. O’Neill)
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19          Plaintiff the United States of America and defendant JULIE DIANNE FARMER, by and through
20   their respective counsel of record, jointly stipulate as follows:
21          The sentencing hearing in this matter is currently set for July 14, 2014 at 10:00 a.m. It is
22   respectfully stipulated and requested that the sentencing hearing be continued until August 25, 2014 at
23   10:00 a.m. The grounds for this stipulation are: The parties have received further case transcripts this
24   week, and the defendant has requested the preparation of one additional transcript. The parties will
25   require additional time to review the transcripts and provide relevant information to the probation officer
26   before the presentence report is completed. The probation officer will also require additional time to
27   review the transcripts and other information for purposes of the presentence report. The probation
28   officer has indicated that the new date of August 25, 2014 will allow sufficient time for the completion

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1    of the presentence report. The parties do not anticipate a further request to extend the sentencing
2    hearing date.
3           IT IS SO STIPULATED.
4    Dated: May 28, 2014
5                                                         Respectfully Submitted,
6                                                         BENJAMIN B. WAGNER
                                                          United States Attorney
7
  /s/ Anthony P. Capozzi                                  /s/ Kirk E. Sherriff
8 ANTHONY P. CAPOZZI                                      KIRK E. SHERRIFF
  Law Offices of Anthony P. Capozzi                       HENRY Z. CARBAJAL III
9 Attorney for defendant Julie Dianne Farmer              CHRISTOPHER D. BAKER
                                                          Assistant United States Attorneys
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                                                      ORDER
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            Good cause appearing, the sentencing hearing as to defendant Julie Farmer is continued from
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     July 14, 2014 to August 25, 2014 at 10:00 a.m.
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     IT IS SO ORDERED.
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        Dated:       May 29, 2014                            /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
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